Case 3:22-cr-00426-JSC Document 42-2 Filed 06/14/23 Page 1 of 11




                         APPENDIX B: SURVEY INSTRUMENT


       SCREENING FORM- SAN FRANCISCO
                                               Cell

Intro1. Hello. My name is (your name) calling from the (Survey Company Name). We are not
       selling anything and this is not a political poll. We’re doing a public opinion survey
       among local residents to obtain opinions about an upcoming jury trial. Your cooperation
       is very important because your household was selected at random by computer as being
       representative of your county. Again, we are not selling anything and this is not a
       political poll.

       [IF RESPONDENT HESITATES TO COOPERATE, SAY: If you like, you can verify the
       authenticity of the survey by calling NAME at SURVEY COMPANY during regular
       office hours; call collect PHONE NUMBER.

S0.   [Do Not Read] Does the respondent have a reasonable working knowledge of
      English?

                     1..........Yes
                     2..........No    Discontinue Survey

S1.    First, what county do you live in?

                       1……………….              Alameda County
                       2……………..              Contra Costa County
                       3………………               Marin County
                       4……………….              Napa County
                       5………………..             San Francisco County
                       6………………..             San Mateo County
                       7………………..             Sonoma County
                       97……………..             Other            Discontinue Survey
                       98……………….             Don’t know        Discontinue Survey
                       99………………              Refused     Discontinue Survey

S2.    Have I reached you on your cell phone or landline?

                     1..........Cell phone
                     2..........Landline

S3.    Are you a U.S. citizen who is 18 or older with a California driver’s license or state-
       issued identification card with a [county identified in S1] address shown on it?

                     1..........Yes          SKIP to S4
                     2..........No          SKIP to S3a
                     9..........Refused     SKIP to S3a
                                              1
Case 3:22-cr-00426-JSC Document 42-2 Filed 06/14/23 Page 2 of 11




S3a.   Are you a U.S. citizen who is 18 or older and registered to vote in [county identified
       in S1]?

                     1..........Yes
                     2..........No     Discontinue Survey
                     9..........Refused   Discontinue Survey

S4.    Are you in a place where you can safely talk on the phone and answer my
       questions?

                     1..........Yes   SKIP to Main Questionnaire
                     2..........No    

       S4a    When is a safe time for me to call you back?

              Timed Callback ..........1     [Callback date/time: __________]
              Refused      9     Discontinue Survey




                                              2
Case 3:22-cr-00426-JSC Document 42-2 Filed 06/14/23 Page 3 of 11




                      MAIN QUESTIONNAIRE

Before I begin asking you questions, I’d like you to know that there are no right or wrong answers
and that you are free to respond with a “don’t know” or “no opinion” answer to any question. All
of your answers will remain confidential!

Q1. Now I’d like to read you a few statements about the criminal justice system. Please tell me
whether you strongly agree; somewhat agree; somewhat disagree; or strongly disagree with the
following statement:

Q1a. If the government brings someone to trial, that person is probably guilty.

                 Strongly agree...............    1
                 Somewhat agree..........         2
                 Somewhat disagree......          3
                 Strongly disagree..........      4
                 No opinion...............        5
                 Don’t know....................   8
                 Refused/NA..................     9

Q1b. Next. Even the worst criminal should be considered for mercy.

                 Strongly agree...............    1
                 Somewhat agree..........         2
                 Somewhat disagree......          3
                 Strongly disagree..........      4
                 No opinion...............        5
                 Don’t know....................   8
                 Refused/NA..................     9

Q1c. Many Republican voters believe it is okay to use violence to achieve their political and
cultural policies.

                 Strongly agree...............    1
                 Somewhat agree..........         2
                 Somewhat disagree......          3
                 Strongly disagree..........      4
                 No opinion...............        5
                 Don’t know....................   8
                 Refused/NA..................     9




                                                  3
Case 3:22-cr-00426-JSC Document 42-2 Filed 06/14/23 Page 4 of 11




Q2a. Now I’d like to ask you about a specific case in the Bay Area. Back in 2022, David
DePape allegedly broke into Nancy Pelosi’s home in San Francisco while she was away in
Washington. He was arrested and charged with allegedly assaulting her husband Paul Pelosi and
with attempting to kidnap Nancy Pelosi.

Yes.………….................1 GO TO Q3a
No.…………................. 2 GO TO Q2b
Don’t know................. 8 GO TO Q2b
Refused/NA…………. 9 GO TO Q2b

Q2b. David DePape allegedly used a hammer to break a window and force his way into the
Pelosis’ home. Have you read, seen, or heard anything about this case?

Yes.………….................1 GO TO Q3a
No.…………................. 2 GO TO Q9
Don’t know................. 8 GO TO Q9
Refused/NA…………. 9 GO TO Q9

       Q3a. Based on what you have read, seen, or heard about this case, do you believe David
       DePape is definitely guilty; probably guilty; probably not guilty; or definitely not guilty
       of assaulting Paul Pelosi?

                 Definitely guilty..................           1
                 Probably guilty..................             2
                 Probably not guilty............               3
                 Definitely not guilty............             4
                 No opinion...............                     5
                *Other……………………....                             7
                 Don’t know........................            8
                 Refused/NA........................            9

       THE RESPONSE OPTIONS SHOULD BE ROTATED FOR HALF THE SAMPLE

        *Record responses

       Q3b. Given what you have read, seen, or heard about this case, would David DePape
       have a difficult time convincing you that he is not—repeat is not— guilty of assaulting
       Paul Pelosi?

       Yes............................................ 1
       No............................................. 2
       No opinion…………………... 5
       Don’t know............................... 8
       Refused/NA.............................. 9




                                                           4
Case 3:22-cr-00426-JSC Document 42-2 Filed 06/14/23 Page 5 of 11




       Q3c. Based on what you have read, seen, or heard about this case, do you believe David
       DePape is definitely guilty; probably guilty; probably not guilty; or definitely not guilty
       of attempting to kidnap Nancy Pelosi?


                 Definitely guilty..................                1
                 Probably guilty..................                  2
                 Probably not guilty............                    3
                 Definitely not guilty............                  4
                 No opinion...............                          5
                *Other……………………....                                  7
                 Don’t know........................                 8
                 Refused/NA........................                 9

       THE RESPONSE OPTIONS SHOULD BE ROTATED FOR HALF THE SAMPLE

       *Record responses

       Q3d. Given what you have read, seen, or heard about this case, would David DePape
       have a difficult time convincing you that he is not—repeat is not— guilty of attempting
       to kidnap Nancy Pelosi?

       Yes............................................ 1
       No............................................. 2
       No opinion…………………... 5
       Don’t know............................... 8
       Refused/NA.............................. 9

Q4a. What have you read, seen, or heard about this case?

Q4b What other opinions do you have about David DePape and the assault of Paul Pelosi?

Q4c. How did you and the people in your community react to this crime?

Q5. As you may know, the media have reported a number of things about this case. Some people
may remember some things, while others may remember other things. We’re interested in what
you may remember, even if you already told me in one of the previous questions.

[ONLY THOSE WHO ANSWERED “YES” ON Q2a SHOULD BE ASKED QUESTION Q5a]

Q5a. Have you read, seen, or heard if David DePape allegedly used a hammer to break a
window and force his way into the Pelosis’ home?

            Yes............................................ 1
            No............................................. 2
            Don’t know............................... 8
            Refused/NA.............................. 9\

                                                                5
Case 3:22-cr-00426-JSC Document 42-2 Filed 06/14/23 Page 6 of 11




[EVERYONE WHO ANSWERED “YES” ON Q2A OR Q2B SHOULD BE ASKED Q5B-Q5F]

Q5b. Have you read, seen, or heard if David DePape’s plan to harm Nancy Pelosi was
politically motivated?

           Yes............................................ 1
           No............................................. 2
           Don’t know............................... 8
           Refused/NA.............................. 9

Q5c. Have you read, seen, or heard if David DePape hit Paul Pelosi in the head with a
hammer?

           Yes............................................ 1
           No............................................. 2
           Don’t know............................... 8
           Refused/NA.............................. 9

Q5d. Have you read, seen, or heard if several prominent conservative public figures and
elected officials spread misinformation about the assault on Paul Pelosi?

           Yes............................................ 1
           No............................................. 2
           Don’t know............................... 8
           Refused/NA.............................. 9

Q5e. Have you read, seen, or heard if David DePape told investigators that he planned to hold
Nancy Pelosi hostage and break her kneecaps if she did not tell him the truth?

           Yes............................................ 1
           No............................................. 2
           Don’t know............................... 8
           Refused/NA.............................. 9

Q5f. Have you read, seen, or heard if police officers saw David DePape hit Paul Pelosi in the
head after a brief struggle over the hammer?

           Yes............................................ 1
           No............................................. 2
           Don’t know............................... 8
           Refused/NA.............................. 9




                                                               6
Case 3:22-cr-00426-JSC Document 42-2 Filed 06/14/23 Page 7 of 11




Q6a. Have you ever talked about this crime with your family, friends, or co-workers, or
discussed it online, for example, on Facebook or other social media sites?

           Yes............................................ 1
           No............................................. 2
           Don’t know............................... 8
           Refused/NA.............................. 9

Q6b.   Have you ever heard others talking about this crime in person or online?

           Yes............................................ 1
           No............................................. 2
           Don’t know............................... 8
           Refused/NA.............................. 9

Q7a. Have you ever seen video of David DePape breaking into the Pelosis’ home or footage of
him hitting Paul Pelosi with a hammer?

           Yes............................................ 1
           No............................................. 2 (GO TO Q7C)
           Don’t know............................... 8 (GO TO Q7C)
           Refused/NA.............................. 9 (GO TO Q7C)

Q7b. Can you tell me what you saw in the videos?____________________________

Q7c. Have you ever read about or heard the media describe the video of David DePape breaking
into the Pelosis’ home with a hammer?

           Yes............................................ 1
           No............................................. 2
           Don’t know............................... 8
           Refused/NA.............................. 9

Q7d. Have you ever read about or heard the media describe the video of David DePape hitting
Paul Pelosi with a hammer?

Q8a. Have you ever read the transcript or heard the 911 call Paul Pelosi made to police?

           Yes............................................ 1
           No............................................. 2
           Don’t know............................... 8
           Refused/NA.............................. 9




                                                               7
Case 3:22-cr-00426-JSC Document 42-2 Filed 06/14/23 Page 8 of 11




Q8b. Have you read or heard statements David DePape made about this crime to investigators or
to KTVU News?

           Yes............................................ 1
           No............................................. 2 (GO TO Q9)
           Don’t know............................... 8 (GO TO Q9)
           Refused/NA.............................. 9 (GO TO Q9)

Q8c. Can you tell me what you read or heard?____________________________

Q9. Finally, I have a couple of more questions to be sure we have included all groups in this
survey. All of your answers will remain confidential.

[ASK EVERYONE]

Q9a. First, how often do you read a hard copy or online version of a newspaper? Would you say
you read it every day, several times a week, once or twice a week, less often than once a week, or
never?

               Every day.................................................   1 (GO TO Q9b)
               Several times a week............................             2 (GO TO Q9b)
               Once or twice a week............................             3 (GO TO Q9b)
               Less often than once a week...............                   4 (GO TO Q9b)
               Never…………………………………..                                         5 (GO TO Q10)
               Don’t know............................................       8 (GO TO Q9b)
               Refused/NA..........................................         9 (GO TO Q9b)

Q9b. What newspapers do you read? I am interested in both local and out-of-town
papers.

(PROBE) Do you read any other papers?

                 LOCAL PUBLICATIONS
                 Alameda Journal                                             1
                 Alameda Times-Star                                          2
                 Argus, The                                                  3
                 Bay Area Reporter                                           4
                 Bay Citizen, The                                            5
                 Bay City News                                               6
                 Berkeley Barb                                               7
                 Berkeley Daily Planet                                       8
                 Berkeley Tribe                                              9
                 Berkeleyside                                                10
                 Daily Review                                                11
                 East Bay Express                                            12
                 East Bay Today                                              13
                 Good Times                                                  14

                                                              8
Case 3:22-cr-00426-JSC Document 42-2 Filed 06/14/23 Page 9 of 11




            Half Moon Bay Review                  15
            Healdsburg Enterprise                 16
            Last Times, The                       17
            Mercury News                          18
            Napa Sentinel                         19
            Oakland Post                          20
            Oakland Tribune                       21
            Pacific Sun                           22
            Peninsula Observer                    23
            Pleasanton Weekly                     24
            Point Reyes Light                     25
            Press Democrat, The                   26
            Richmond Globe                        27
            Richmond Post                         28
            San Francisco Bay Guardian            29
            San Francisco Bay Times               30
            San Francisco Bay View                31
            San Francisco Call                    32
            San Francisco Chronicle               33
            San Francisco Daily                   34
            San Francisco Examiner                35
            San Francisco Foghorn                 36
            San Francisco Oracle                  37
            San Francisco Sentinel                38
            San Mateo County Times                39
            San Mateo Daily Journal               40
            Santa Cruz Sentinel                   41
            Sausalito News                        42
            SF Public Press                       43
            SF Weekly                             44
            Sonoma Valley Sun                     45
            Spectator Magazine                    46
            St. Helena Star                       47
            Tenderloin Times                      48
            Tri-City Voice                        49
            Tri-Valley Herald                     50
            Vallejo Times Herald                  51
            West Marin Citizen                    52
            OUT OF STATE PUBLICATIONS
            New York Times                        53
            USA Today                             54
            Wall Street Journal                   55
            Washington Post                       56

            Other: Specify________________________ 97
            Don’t know                             98

                                       9
Case 3:22-cr-00426-JSC Document 42-2 Filed 06/14/23 Page 10 of 11




                Refused/NA                                                     99


[RECORD UP TO 4 NEWSPAPERS]

INSTRUCTION: DO NOT READ THE LIST OF NEWSPAPERS TO RESPONDENTS.

Q10. How often do you listen to local news on the radio or watch it on television? Do you listen
to or watch local news: every day, several times a week, once or twice a week, less often than
once a week, or never?

              Every day.................................................   1
              Several times a week............................             2
              Once or twice a week............................             3
              Less often than once a week...............                   4
              Never…………………………………..                                         5
              Don’t know............................................       8
              Refused/NA..........................................         9

Q11. How do you follow or keep up with local and national news?_________________

Q12. How often do you see local news or news related updates on social media sites such as
Facebook or Twitter? Do you see local news or news related updates on social media sites every
day, several times a week, once or twice a week, less often than once a week, or never?

              Every day.................................................   1
              Several times a week............................             2
              Once or twice a week............................             3
              Less often than once a week...............                   4
              Never…………………………………..                                         5
              Don’t know............................................       8
              Refused/NA..........................................         9

Q13. What city or town do you live in or nearest?______________________

Q14. Could you please tell us how old you are?

(DO NOT READ RESPONSES. IF RESPONDENT ANSWERS, E.G., “OVER 30,” PROBE)

            18-24......................................   1
            25-34......................................   2
            35-44......................................   3
            45-54......................................   4
            55-64......................................   5
            65 or over ............................       6
            Refused/NA ......................             9


                                                              10
Case 3:22-cr-00426-JSC Document 42-2 Filed 06/14/23 Page 11 of 11




Q15. Regardless of race, are you of Hispanic, Latino, or Spanish origin?

              Yes ......................................        1
              No .......................................        2
              Don’t know ...........................            8
              Refused/NA ..........................             9

Q16. Could Regardless of your Hispanic, Latino, or Spanish origin, what is your race? Are you
white, African American, Asian, Pacific Islander, American Indian, a member of some other
race, or of mixed race?

                White…………..……………                                1
                African American …………                           2
                Asian………………………..                                3
                Pacific Islander…………….                          4
                American Indian ………….                           5
                Mixed……………………….                                 6
                Other: Specify____________                      97
                Don’t know…………….…...                            98
                Refused/NA……………….                               99

Q17. Finally, for statistical purposes only, we need to know if you have ever been convicted of a
felony.

              Yes ......................................        1 [TERMINATE]
              No .......................................        2
              Don’t know ...........................            8
              Refused/NA ..........................             9

Q18. (NOTE GENDER OF RESPONDENT)

              Female …………....................                   1
              Male …………………………                                   2

Well, those are all the questions that I have. Lastly, let me verify that I dialed ___-________.
Again, my name is (Your First Name), and on occasion a small percentage of people like you are
called back just to verify that this interview actually took place. May I please have your first
name, and first name only, so my supervisor will know whom to ask for in case this interview is
verified? Thank you for your time and have a good (evening/day)!

Respondent Name:_______________ Phone ( )______-___________
Interview Date:_________   End Time:_______________




                                                           11
